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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL


 LETITIA JAMES                                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                          LITIGATION BUREAU


                                            Writer Direct: 518-776-2578

                                                       May 2, 2022
    VIA CM/ECF
    Hon. Daniel J. Stewart
    James T. Foley U.S. Courthouse
    445 Broadway, Room 441
    Albany, NY 12207

    Re:     Lilkendey v. SONY et al.
            Northern District of New York
            21-CV-1355 (GTS)(DJS)

    Dear Judge Stewart:

            Defendants respectfully request an extension of time to May 27, 2022 to respond to the
    complaint in this matter. This extension is requested to permit this office to fully investigate the
    allegations and complaints asserted in the complaint, and to permit defendants to file a single
    unified response to the complaint.

            Thank you for your consideration of this matter.

                                                                   Respectfully,

                                                                   s/ Christopher J. Hummel
                                                                   Christopher J. Hummel
                                                                   Assistant Attorney General
                                                                   Bar Roll No. 519343
    cc:     VIA CM/ECF
            Julia Grace Lilkendey
            Plaintiff pro se
            211 Consaul Road
            Colonie, NY 12205




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